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UNITED STATES BANKRUPTCY COURT
EASTERN DISTR.ICT OF NEW YORK

 

 

X
In re Chapter ll
Case No.
40 CAR.LETON AVENUE CORP.,
AFFIDAVIT PURSUANT TO
Debtor. TO LOCAL RULE 1007-4
X
S'I`ATE OF NEW YORK)
SS.:
COUNTY OF SUFFOLK)

CHARLES LUCCHETTI, being duly swom, depose and says, under penalties of peljury:

l. I am the President of 40 CARLETON AVENUE CORP., the Debtor and Debtor-
ln- Possession in this chapter l l bankruptcy case (the “Debtor”), and l make this affidavit in
compliance with the obligations of a Debtor-in-Possession pursuant to Local Bankruptcy Rule
1007-4.

2. This case was commenced by the filing of a voluntary petition with this Court for
relief under chapter ll of the United States Bankruptcy Code, ll U.S.C. Section lOl-gt_s_eg., on
Decernber 22, 2017, (the "Filing Date"). The Debtor is not a small business within the meaning
of Bankruptcy Code Section IOl(SlD).

73. The Debtor is a New ‘r’orl< corporation with its corporate office having an address
of 40 Carleton Avenue, Islip Terrace, NY l 1752 (the “Business Premises”).

4. 'I'he Debtor, which was incorporated in 1992, is in the business of owning and
operating the Business Premises.

5. The Debtor’s President and 100% shareholder is Charles Lucchetti (“Lucchetti”).

6. The Debtor was formed in 1992 for the purpose of owning and operating the

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Business Premises. Lucchetti is also the sole owner of 46 Carleton Avenue Corp (“46

las

Carleton ) which was also incorporated in 1992 for the purpose of owning and operating a

parcel of real property located at 46 Carleton Avenue, Islip Terrace, NY 11752 (the “46 Carleton
Property”), which is contiguous with the Business Premises. From 1992, the Business Premises
and the 46 Carleton Property (collectively, the “Carleton Properties”) were leased to entities in
the business of tire sales. Beginning in or around 2011, the Debtor was unable to collect the full
rent due from the operating entities, and as a result, the Debtor fell behind on the payment of its
real property taxes. The Debtor believes that a sale of the tax liens on the Business Premises is
imminent, and therefore filed the instant Chapter ll case to preserve its only asset and provide it
with the breathing room afforded by Chapter l l. `

7. As a result, the Debtor filed the instant chapter ll case.

8. This case was commenced as a Chapter ll case, and as such there has been no
trustee or creditors’ committee appointed in this case.

9. A list of the Debtor’s twenty largest unsecured creditors is annexed hereto at
Exhibit “A”.

10. A list of the Debtor’s five largest secured creditors is annexed hereto at Exhibit
“B”.

ll. The Debtor’s only assets are the Business Premises and the lease of the Business
Premises to the operating entity.

12. The Debtor’s liabilities consist of the following:

 

' 46 Carleton is filing a chapter ll case with this Court simultaneously with the
filing of the Debtor’s petition.

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- secured debt in the approximate aggregate sum of$101,675.37,
consisting of real estate taxes against the Business Premises;

13. None of the shares in the Debtor are publically traded.

14. None of the Debtor’s property is in the possession or custody of any third party.

15. All of the Debtor’s assets are located at the Business Premises.

16. The Debtor’s books and records are maintained at the Business Premises.

17. As set forth above, at the time of the filing the Debtor was faced with an imminent
sale of the tax liens against the Business Premises. The Debtor’s chapter 11 filing allowed the
Debtor to preserve its assets and avail itself of the breathing room afforded by Chapter 11.

18. The Debtor is managed by it’s President, Lucchetti. Lucchetti has been managing
the Debtor since its creation in 1992. Lucchetti is solely responsible for all management duties
of the Debtor.

19. The Debtor will have no payroll to be paid for the 30-day period following the
filing of the Chapter l 1 petition.

20. During the 30-day period following the filing of the Chapter ll petition, the
Debtor plans to pay its officers and directors approximately $0.00.

21. A schedule of the estimated cash receipts and disbursements, net cash gain or loss,
obligations and receivables expected to accrue but remaining unpaid, other than professional
fees, incurred during the 30-day period following the filing of the chapter ll petition is as
follows:

Receipts: Rental Payments of $4,000.00

Disbursements: Insurance Payment of $l 25.00

22. As stated above, the Debtor’s main objective in its chapter ll case is obtain the

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“breathing room” necessary to allow it to reorganize and confirm a chapter ll plan. The Debtor
believes that it will be able to meet its objective and successfirlly emerge from Chapter ll

pursuant to a comprehensive plan of reorganization

cHARLEs LUCCH'ETTI, President

Sworn to before me this
22'“1 day of` Decernber, 2

   
 
     
  

 

Notary Public

RAYMOND W. VERDl, JR
Notary Publtc, State of New Ycrlt
No. 02VE5050065
Qualiiiad in Suifolk County
Commission Expires October2, 2024

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EXHIBIT '"A"

 

 

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Debtor name 140 Carlet_on _Avenue Corp.

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Case number (if known): _ _ 7 § amended filing

Ol"iicial FOrm 204

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not |nsiders 12115

 

A list of creditors holding the 20 iargest unsecured claims must be filed iri a Chapter 11 or Chapter 9 case. |ncludc claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Aiso, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 

 

 

 

 

 

 

Name of creditor and Name, telephone duml:ie?i Nature of'cl'a'im § |nd'l'<':'a'te ll cla|m §Amourit 01 claim 7
complete mailing address, and small address ol‘ (for example trade l ls contingent, ll the claim is fully unsecured, rill ln onlyl unsecured claim amount ll
lncludlng zip code credltor contact debls, bank |oans. unliquidated. or claim is partlally secured, rill in total cla|rn amount and deduction for
§ professional services. d|sputed value al eollatera_Ler setoff to calculate unsecured claim. mr
and 90"9""“€“1 Total cla|m, ll 1 Deductlon for value Unsecured claim
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Oft“icial form 204 Chapter 11 or Chapler 9 Cases: List oi Credilors Who Have the 20 Largest Unsecured claims page 1

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EX§HIBIT "B"

 

 

 

Case 8-17-77838-ast

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LIST OF CREDITORS HOLDING FIVE LARGEST SECURED CLAIMS
OF 40 CARLETON AVENUE CORP., CHAPTER ll DEBTOR

 

 

Name and Address of T Nature of Lien Value of Amount of Claim
Creditor Collateral
Suffolk County Treasurer Real Property Tax $500,000.00 $101,675.37

 

 

Liens

 

 

(disputed by
Debtor)

 

 

 

 

 

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

 

 

-- X
In re Chapter l l
Case No.
40 CARLETON AVENUE CORP.,
CORPORATE DISCLOSURE
STATEMENT PURSUANT TO
LOCAL BANKRUPTCY RULE 1073-3
Debtor.
X
STATE OF NEW YORK)
SS.:
COUNTY OF SUFFOLK)

CHARLES LUCCHETTI, being duly sworn, depose and say, under penalties of perj ury:

1. l am the President of 40 CARLETON AVENUE CORP., the Debtor and Debtor-
In- Possession in this chapter 11 bankruptcy case (the Debtor ), and I make this affidavit in
compliance With the obligations of a Debtor-in-Possession pursuant to EDNY Local Bankruptcy
Rule 1073-3.

2. There is no corporation that directly or indirectly owns 10% or more of any class

of the debtor s equity interests to be reported under EDNY Local Bankruptcy Rule 1073-3.

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CHARLES LUCCHETTI, President

 

Sworn to before me this
22““ day of Decernber, 2017

17

RAYMOND W. VERDI, JR
Nolary Publlc, State of New Yorlt
No. 02VE5050065
Qualified in Surfolli County
Commission Ex_cires OctoberZ, app-fy

 

Notary Public

